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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF REW JERSEY

   UNITED STATES OF AMERICA                  Hon. Michael A. Hammer, U.S.M.J.

         v.                                  Mag. No. 16-4062

   CHARLIE RODRIGUEZ,                        ORDER FOR CONTINUANCE
       a/k/a "Money,"
       a/k/ a "Moyo,"
       a/k/ a "Goon"


        This matter having come before the Court on the joint application of
  William E. Fitzpatrick, Acting United States Attorney for the District of New

  Jersey (by Sara F. Merin, Assistant United States Attorney), and Defendant

  Charlie Rodriguez (by Richard Baldi, Esq., appearing), for an order granting a

  continuance of the proceedings in the above-captioned matter; and Defendant

  being aware that he has the right to have the matter submitted to a grand jury

  within 30 days of the date of his arrest pursuant to Title 18 of the United

  States Code, Section 316l(b); and Defendant, through his attorney, having

  consented to the continuance; and six prior continuances having been granted;
  and for good and sufficient cause shown,

        IT IS THE FINDING OF THIS COURT that this action should be

  continued for the following reasons:

        (1)   Plea negotiations are currently in progress, and both the United

  States and Defendant desire additional time to negotiate a plea agreement,
  which would render trial of this matter unnecessary;

        (2)   Defendant has consented to the aforementioned continuance; and
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        (3)   Pursuant to Title 18 of the United States Code, Section 316l(h)(7),

  the ends of justice served by granting the continuance outweigh the best

  interests of the public and Defendantta speedy trial.

        WHEREFORE, it is on this       J1   day of May, 2017;

        ORDERED that this action be, and it hereby is, continued from the date

  this Order is signed through and including July 15, 2017; and it is further

        ORDERED that the period from the date this Order is signed through

  and including July 15, 2017 shall be excludable in computing time under the

  Speedy Trial Act of 1974.




                                                            ELA. HAMMER
                                        United States Magistrate Judge




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                     States Attorney
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 Depuif Chief, Criminal Division
